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IN THE UNITED STATES DISTRICT COURT JUN 21 2018
FOR THE NORTHERN DISTRICT OF TEXAS Ullnaam
FORT WORTH DIVISION CLERK, U.S. DISTRICT COURT
By
Deputy
UNITED STATES OF AMERICA —
“ | No. 4:14-CR-151-Y
| {Filed Under Seal]

JESUS GERARDO LEDEZMA-CEPEDA, et al

GOVERNMENT’S MOTION TO UNSEAL FOURTH SUPERSEDING INDICTMENT
AS JT RELATES TO DEFENDANT RAMON VILLARREAL-HERNANDEZ

The United States Attorney for the Northern District of Texas, files this Motion
requesting the Court unseal the attached Fourth Superseding Indictment in its redacted.
form, leaving all information relating to defendants not apprehended sealed.

Defendant Ramon Villarreal Hernandez has been apprehended; therefore the
government requests the unsealing as to his name in the fourth superseding indictment at

this time.
Respectfully submitted,

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Government’s Motion to Unseal Fourth Superseding Indictment - Page 1
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IN THE UNITED STATES DISTRICT COURIT JUN 2 0 2018
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION CLERK, U.S. DISTRICT COURT
, y
UNITED STATES OF AMERICA | Deputy
v. | 7 - No. 4:14-CR-151-Y
, [Supersedes Indictment
returned on October 15, 2017]
[Filed Under Seal] ,

 

 

 

 

RAMON VILLARREAL HERNANDEZ (05)
a/k/a “El Mon” and “Gabino”

 

 

 

 

 

FOURTH SUPERSEDING INDICTMENT
_ The Grand Jury Charges:
Count One
Interstate Stalking
(Violation of 18 U.S.C. § 22614 and § 2)

Beginning on or about March 1, 2011, and continuing until on or about May 22,

2013, in the Fort Worth Division of the Northern District of Texas and elsewhere,

 

   
   
 

Ramon Villarreal |

Hernandez, also known as El Mon and Gabino,

following who are not named as defendants herein: Jesus Gerardo Ledezma~Cepeda, also
_ known as Chuy and Juan Ramos, Jesus Gerardo Ledezma-Campano and Jose Luis

Cepeda-Cortes, traveled in interstate and foreign commerce from Mexico and elsewhere,

Fourth Superseding Indictment- Page 1

 

 
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to Southlake, Texas, and elsewhere, with the intent to kill, injure, harass and intimidate
J.J.G.C., and in the course of and as a result of such travel placed J.J.G.C. in reasonable
fear of the death of and serious bodily injury to J.J.G.C., and in the course of and as a

result of such travel, the death of ..G.C. resulted.

In violation of 18 U.S.C. § 2261A and § 2.

Fourth Superseding Indictment- Page 2

 

 
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Count Two
Conspiracy to Commit Murder for Hire
(Violation of 18 U.S.C. § 1958)
Beginning on or about March 1, 2011, and continuing until on or about September

5, 2014, in the Fort Worth Division of the Northern District of Texas and elsewhere,

 

 

defendants ‘Ramon Villarreal

  
  

| Hernandez, also known as El Mon and Gabino

and the following who are not named as defendants herein: Jesus

 

Gerardo Ledezma-Cepeda, also known as Chuy and Juan Ramos, Jesus Gerardo
Ledezma-Campano, and Jose Luis Cepeda-Cortes, and others, both known and unknown
to the Grand Jury, did knowingly and intentionally combine, conspire, confederate, and
agree to travel in interstate and foreign commerce from Mexico and elsewhere, to
Southlake, Texas, and elsewhere, with the intent to murder J.J .G.C., in violation of the
laws of Texas, as consideration for the receipt of, and as consideration for a promise and
agreement to pay, things of pecuniary value, and which offense resulted in the death of
JIG. |

In violation of 18 U.S.C. § 1958.

Fourth Superseding iIndictment- Page 3

 

 
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Fourth Superseding Indictment- Page 5

 

 
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Fourth Superseding Indictment- Page 6

 

 
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A TRUE BILL.

A WZ _

FQREPERSON

 

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Fourth Superseding Indictment- Page 7

 
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
FORT WORTH DIVISION

 

THE UNITED STATES OF AMERICA

 

 

     

 

RAMON VILLARREAL HERNANDEZ (05)
a/k/a “El Mon” and “El Gabino”

 

 

 

 

 

FOURTH SUPERSEDING INDICTMENT

18 U.S.C. § 2261A and § 2
Interstate Stalking
(1 COUNT)

18 U.S.C. § 1958
Conspiracy to Commit Murder for Hire
(1 COUNT)

 

A true bill rendered

 

 

FORT WORTH: | = FOREPERSON

 

Filed in open court this 20th day of June, 2018.

 

 
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Warrant to be issued on all defendants. 7)

   

 
